                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 MAXWELL KADEL, et al.,                          )
                                                 )
                       Plaintiffs,               )
                                                 )
               v.                                )                1:19CV272
                                                 )
 DALE FOLWELL, et al.,                           )
                                                 )
                       Defendants.               )
                                                 )
                                                 )


                      MEMORANDUM OPINION AND ORDER

LORETTA C. BIGGS, District Judge.

       On June 10, 2022, this Court issued its Memorandum Opinion and Order (“Order”)

resolving various motions of the parties and permanently enjoining Defendants Folwell and

Jones, in their official capacities, from enforcing the Plan’s exclusion and ordering the

reinstatement of coverage for “medically necessary services of treatment for gender

dysphoria.” (ECF No. 234 at 72–73; 261 at 72–73 (corrected version).) In that Order, the

Court expressly reserved judgment on the parties’ cross motions for summary judgment

related to Plaintiffs’ claims arising under the Affordable Care Act (“ACA”). (ECF No. 261 at

65.) The Court withheld judgment given the U.S. Department of Health and Human Services’

(“DHHS”) indication that it would revisit its interpretation of the term “health program or

activity,” which under the 2020 Rule excluded entities “principally engaged in providing or

administering . . . health insurance coverage.” (Id. at 64–65.)




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       On August 4, 2022, DHHS published a Notice of Proposed Rulemaking on this issue.

Nondiscrimination in Health Programs and Activities, 87 Fed. Reg. 47824 (proposed Aug. 4,

2022) (to be codified at 45 C.F.R. pt. 92). In light of the new rule, the Court finds that

additional limited briefing on this issue could assist the Court in resolving the parties’ cross

motions.

       For the reasons stated herein, the Court enters the following:

                                           ORDER

       IT IS THEREFORE ORDERED that each party may, but is not required to,

provide additional limited briefing on their respective motion related to Plaintiffs’ ACA claim

in light of DHHS’s recent rulemaking. Each party may file a supplemental brief within 14

days of the entry of this Order, which shall not exceed 3,125 words. Further, each party may

file a response, if any, within 7 days of the filing of supplemental briefing, likewise, not to

exceed 3,125 words.

       This, the 24th day of October 2022.

                                             /s/ Loretta C. Biggs
                                             United States District Judge




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